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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 CHRISTINA NIELSEN,

        Plaintiff,

        v.                                       CIVIL ACTION NO.
                                                 1:24-CV-02460-JPB
 CROSSCOUNTRY MORTGAGE,
 LLC,

        Defendant.


                                      ORDER

      This matter is before the Court on CrossCountry Mortgage, LLC’s

(“Defendant”) Motion to Compel Arbitration, Stay Proceedings and Dismiss

Collective Action [Doc. 10]. The Court finds as follows:

                                 BACKGROUND

      Christina Nielsen (“Plaintiff”) filed this collective action on behalf of herself

and others similarly situated on June 5, 2024. [Doc. 1]. She alleges that

Defendant, her former employer, willfully failed to pay her, and other full-time

employees, overtime wages in violation of the Fair Labor Standards Act (“FLSA”).

Id. at 6, 9–11.
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      On September 20, 2024, Defendant filed the instant Motion to Compel

Arbitration, Stay Proceedings and Dismiss Collective Action. [Doc. 10]. The

motion relies on two provisions of an employment agreement between Defendant

and Plaintiff (“Employment Agreement”)—the arbitration clause and the collective

action waiver. Id. The arbitration clause provides, in pertinent part:

      Company and Employee agree that all disputes, disagreements and
      questions of interpretation concerning this Agreement, the entering
      into of this Agreement, the enforceability of this provision regarding
      arbitration of claims, any alleged violation of any and all laws . . . and
      any other claim relating to the employment relationship, shall be
      submitted for resolution to the American Arbitration Association for
      resolution by a single arbitrator, that may be mutually agreed upon by
      the Parties, in accordance with the Association’s then-current Rules
      for Resolution of Employment Disputes.

Id. at 4. The collective action waiver provides:

      EMPLOYEE AND COMPANY ARE EACH GIVING UP
      HIS/HER/ITS RIGHT TO PARTICIPATE IN A CLASS ACTION
      OR COLLECTIVE ACTION BECAUSE ALL CLAIMS WILL BE
      RESOLVED EXCLUSIVELY THROUGH ARBITRATION.
      EMPLOYEE AND COMPANY AGREE THAT EACH MAY
      BRING CLAIMS AGAINST THE OTHER ONLY IN HIS/HER/ITS
      INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF OR
      CLASS MEMBER IN ANY PURPORTED CLASS OR
      REPRESENTATIVE PROCEEDING.

Id. Pursuant to the above provisions, Defendant argues that this case should be

sent to arbitration and that Plaintiff’s collective action claim should be dismissed

under Federal Rule of Civil Procedure 12(b)(6). Id. at 13. Additionally, in the

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event that the Court compels arbitration, Plaintiff requests fees, costs and expenses

pursuant to the fee-shifting provision in the Employment Agreement, which states,

“[i]f Employee brings a claim in court that should have been brought in arbitration

pursuant to this Agreement, Employee agrees to pay Company’s attorneys’ fees,

costs and expenses associated with transferring the matter to arbitration, including

any filing fees charged by the arbitration tribunal.” Id. at 4, 13. Plaintiff filed a

response to the motion, arguing that (1) her FLSA claim does not arise from the

Employment Agreement, (2) Defendant impliedly waived its right to arbitrate, (3)

the collective action claim is not precluded by the contractual waiver and (4) the

attorney’s fees provision is inapplicable and unconscionable. [Doc. 11]. The

motion is now ripe for review.

                                LEGAL STANDARD

      The Federal Arbitration Act (“FAA”) “embodies a liberal federal policy

favoring arbitration agreements.” Caley v. Gulfstream Aerospace Corp., 428 F.3d

1359, 1367 (11th Cir. 2005) (quotation marks omitted). Section 2 of the Act

provides, in relevant part:

      A written provision in . . . a contract evidencing a transaction
      involving commerce to settle by arbitration a controversy thereafter
      arising out of such contract or transaction . . . shall be valid,
      irrevocable, and enforceable, save upon such grounds as exist at law
      or in equity for the revocation of any contract.

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9 U.S.C. § 2. On a motion to compel arbitration, a court undertakes a two-step

inquiry to determine (1) whether the parties agreed to arbitrate the dispute in

question and, if they did, (2) whether legal constraints external to their agreement

foreclose arbitration. Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,

473 U.S. 614, 628 (1985). Courts apply state contract law to questions regarding

the validity, revocability and enforceability of arbitration agreements. Caley, 428

F.3d at 1368. An arbitration clause may be deemed unenforceable for the same

reasons as any other contract, such as fraud or unconscionability. Mitsubishi, 473

U.S. at 627. There may also be statutory barriers to arbitration, such as a

congressional intention to adjudicate certain substantive rights solely in a judicial

forum. Id. at 628. When an arbitration agreement clears both prongs of the FAA

test, a court must either stay or dismiss the lawsuit and compel arbitration.

Lambert v. Austin Indus., 544 F.3d 1192, 1195 (11th Cir. 2008).

                                     ANALYSIS

      The Court’s analysis proceeds in three parts. First, the Court will consider

whether it is permitted to weigh in on questions of arbitrability and, if so, whether

Plaintiff’s claim is within the scope of the arbitration clause. Second, the Court

will discuss whether Defendant waived its right to arbitrate through its conduct.



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Third, the Court will address whether Defendant can recover fees, costs

and expenses associated with transferring this matter to arbitration.

I.    Arbitrability of the FLSA Claim

      The parties dispute whether Plaintiff’s claim falls within the scope of the

arbitration clause. At the outset, however, the Court must consider whether the

Employment Agreement requires that dispute to be resolved by an arbitrator, rather

than this Court. Parm v. Nat’l Bank of Cal., N.A., 835 F.3d 1331, 1335 (11th Cir.

2016). As a general matter, courts, not arbitrators, determine the threshold issue of

whether certain claims are arbitrable. Attix v. Carrington Mortg. Servs., LLC, 35

F.4th 1284, 1295 (11th Cir. 2022). However, “[s]ometimes, parties agree not only

to arbitrate the merits of any claims that arise from their contract, but also to

arbitrate . . . questions about the ‘arbitrability’ of those claims, such as questions

about the ‘enforceability, scope, [or] applicability’ of the parties’ agreement to

arbitrate.” Id. (quoting Jones v. Waffle House, Inc., 866 F.3d 1257, 1264 (11th

Cir. 2017)). An agreement to delegate those threshold questions to an arbitrator is

often called a “delegation agreement” or “delegation provision.” Id.

      While parties are “free to have an arbitrator decide their threshold disputes,”

courts can only compel arbitration upon a showing of “clear and unmistakable

evidence” that the parties intended to do so, and courts must “resolve ambiguities

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in [delegation provisions] in favor of the party opposing arbitration.” Id. at 1295–

96 (citations omitted). Significantly, the Eleventh Circuit Court of Appeals has

held that “by incorporating [American Arbitration Association] rules into an

agreement parties clearly and unmistakably evince an intent to delegate questions

of arbitrability.” JPay, Inc. v. Kobel, 904 F.3d 923, 937 (11th Cir. 2018).

      Here, as discussed, the arbitration clause provides that “any . . . claim

relating to the employment relationship, shall be submitted for resolution . . . in

accordance with the [American Arbitration] Association’s then-current Rules for

Resolution of Employment Disputes.” [Doc. 10, p. 4]. The Court finds that such

language provides clear and unmistakable evidence of delegation. JPay, 904 F.3d

at 937. Accordingly, unless the Court concludes that Defendant waived its right to

arbitrate, this Court will not consider whether Plaintiff’s claim is within the scope

of the arbitration clause nor weigh in on the merits of Plaintiff’s collective action

suit. Parm, 835 F.3d at 1335; Sullivan v. PJ United, Inc., No. 13-CV-1275, 2013

WL 4827605, at *2 (N.D. Ala. Sept. 10, 2013) (“[I]nterpretation of the collective

action waiver provision is a question for the arbitrator.”).

II.   Waiver of the Right to Arbitrate

      The Court will now address whether Defendant has impliedly waived its

right to arbitrate. “[D]espite the strong policy in favor of arbitration, a party may,

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by its conduct, waive its right to arbitration.” S & H Contractors, Inc. v. A.J. Taft

Coal Co., 906 F.2d 1507, 1514 (11th Cir. 1990). Waiver can be inferred when a

party “acts inconsistently with the arbitration right.” Garcia v. Wachovia Corp.,

699 F.3d 1273, 1277 (11th Cir. 2012) (citations omitted). Typically, a party does

so by first “invok[ing] the litigation machinery” and then “revers[ing] course and

claim[ing] that arbitration was the proper avenue all along.” Payne v. Savannah

Coll. of Art & Design, Inc., 81 F.4th 1187, 1201 (11th Cir. 2023).

      Ultimately, the primary issue is whether, under the facts of the case, the

movant’s conduct deprived the nonmovant of “fair notice” of the movant’s intent

to arbitrate. Gutierrez v. Wells Fargo Bank, NA, 889 F.3d 1230, 1236 (11th Cir.

2018). In more practical terms, waiver doctrine generally seeks to curb “outcome-

oriented gamesmanship” by prohibiting a party from “forego[ing] arbitration when

it believes that the outcome in litigation will be favorable to it, proceeding with

extensive discovery and court proceedings, and then suddenly changing course and

pursuing arbitration when its prospects of victory in litigation dim.” Id. With that

said, a party does not waive its right by failing to move for arbitration when doing

so would be futile, Garcia, 699 F.3d at 1278, and the Eleventh Circuit has rejected

the notion that, as a general matter, “a party waives its right to arbitrate based on

its actions taken in a previous legal action,” Payne, 81 F.4th at 1201.

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          Here, Plaintiff argues that Defendant forfeited its right to arbitrate because it

did not move to compel arbitration in a previous case in this District where

Plaintiff brought various claims against Defendant related to incidents of

workplace sexual harassment. [Doc. 11, pp. 5, 11–14]. The Court is unpersuaded

by Plaintiff’s argument for two reasons. First, it appears that arbitration of

Plaintiff’s claims in the prior case was barred by the Ending Forced Arbitration of

Sexual Assault and Sexual Harassment Act of 2021, which rendered arbitration

clauses unenforceable as to any “dispute relating to conduct that is alleged to

constitute sexual harassment under applicable Federal, Tribal, or State law.” 9

U.S.C. § 401(4). Thus, moving to compel arbitration in that case would have been

futile.

          Second, even assuming those claims were arbitrable, the Eleventh Circuit

has declined to adopt Plaintiff’s theory that the failure to invoke arbitration in one

case generally forfeits a party’s right to arbitrate in other cases. Payne, 81 F.4th at

1201. Although the panel stopped short of holding that waiver can never be

inferred from a party’s conduct in a different case, the Court sees no reason to

depart from Payne here. 1 This litigation is in a nascent stage, and Defendant has


1
 Other courts agree that waiver of the right to arbitrate in one case does not extend beyond that
case. Meadows v. Cebridge Acquisition, LLC, 132 F.4th 716, 734 (4th Cir. 2025) (collecting
cases).
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diligently pursued its right to arbitrate thus far. In other words, there is no basis to

reasonably conclude that Defendant has raised arbitration as a tactical, last-minute

change in litigation strategy to avoid an imminent loss in court. As such,

Defendant’s conduct does not “smack[] of outcome-oriented gamesmanship” as

contemplated by the waiver doctrine. Gutierrez, 889 F.3d at 1236. Thus, after

considering the background of this case, the Court finds that Defendant has not

waived its right to arbitrate. The Court will, therefore, compel arbitration.

III.   Attorney’s Fees, Costs & Expenses

       Having found this case should be sent to arbitration, the Court now turns to

whether the provision requiring Plaintiff to pay Defendant’s fees, costs and

expenses incurred in connection with referring this case to arbitration is

unconscionable.2 As a general matter, “Ohio fee-shifting law follows the

‘American Rule,’ which . . . requires that litigants pay their own legal fees

regardless of a case’s outcome.” Boyd v. Allied Home Mortg. Cap. Corp., 523 F.

Supp. 2d 650, 658 (N.D. Ohio 2007).3 However, parties are generally permitted to


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  Plaintiff also argues the provision is inapplicable because her FLSA claim does not arise under
the Employment Agreement. Accepting that argument would require the Court to rule on
arbitrability, which it cannot do. With that said, assuming the claim does not arise under the
Employment Agreement, Plaintiff was still required to bring the claim in arbitration for a
threshold determination of arbitrability. Thus, the fee-shifting provision applies regardless.
3
 The Employment Agreement is governed by Ohio law pursuant to a choice-of-law provision.
[Doc. 10-2, p. 7].
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alter that rule by contract. Id. Under some circumstances—for example, in

consumer lending contracts—fee-shifting provisions are presumed to be

unenforceable due to unequal bargaining power between the parties. Id. at 659.

But Ohio courts have found that fee-shifting provisions in employment contracts

are enforceable so long as the costs shifted onto the employee do not render

arbitration prohibitively expensive. E.g., Manuel v. Honda R & D Ams., Inc., 175

F. Supp. 2d 987, 994 (S.D. Ohio 2011); Cook v. All State Home Mortg., Inc., No.

06-CV-1206, 2006 WL 2252538, at *3 (N.D. Ohio Aug. 7, 2006). In fact, one

federal district court in Ohio, after ordering an FLSA case to arbitration, enforced a

fee-shifting provision identical to the one in this case. Cook, 2006 WL 2252538, at

*3 & n.4.

      Plaintiff challenges the fee-shifting provision as unconscionable on two

grounds. First, she argues that it is “designed to threaten and dissuade an

employee from attempting to challenge” the arbitration clause. [Doc. 11, p. 16

n.30]. Plaintiff’s argument falls short, however, because she does not explain how

the clause prevents her from raising those challenges. There is nothing in the

clause that precludes Plaintiff from contesting the enforceability, validity or scope

of the clause in the arbitral proceeding, and, importantly, she does not argue or

suggest that arbitration is prohibitively expensive such that the clause effectively

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requires her to relinquish her legal claims. Accordingly, the Court will not

invalidate the provision on this basis.

      Second, Plaintiff argues the fee-shifting provision is unconscionable because

it requires her to “forgo the substantive rights afforded to her by” § 3 of the FAA.

Id. (quoting Mitsubishi, 473 U.S. at 628). She claims that § 3 gives plaintiffs a

right to “file a court action and request a stay of ‘trial of the action until such

arbitration has been had in accordance with the terms of the agreement.’” Id.

      Upon consideration, the Court disagrees with Plaintiff’s characterization of

the statute. Section 3 provides:

      If any suit or proceeding be brought in any of the courts of the United
      States upon any issue referable to arbitration under an agreement in
      writing for such arbitration, the court in which such suit is pending,
      upon being satisfied that the issue involved in such suit or proceeding
      is referable to arbitration under such an agreement, shall on
      application of one of the parties stay the trial of the action until such
      arbitration has been had in accordance with the terms of the
      agreement, providing the applicant for the stay is not in default in
      proceeding with such arbitration.

9 U.S.C. § 3. Put simply, the statute allows parties to seek a stay when claims have

wrongfully been brought in court, rather than arbitration, and imposes a duty on

courts to stay proceedings pending arbitration. The text of the statute does not

appear to give parties a right to bring otherwise arbitrable claims in court, and

Plaintiff provides no authority supporting that position. After review, this Court is

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also unable to locate any case law supporting Plaintiff’s reading. In contrast, there

are numerous examples of courts enforcing fee-shifting provisions similar to the

one at issue here. E.g., Cook, 2006 WL 2252538, at *3 & n.4; Eyth v. Spectrum

Charter Commc’ns, Inc., No. 23-CV-1878, 2025 WL 697464, at *3 (M.D. Fla.

Feb. 13, 2025) (collecting cases), R. & R. adopted, 2025 WL 693318 (M.D. Fla.

Mar. 4, 2025). Thus, the Court also declines to invalidate the provision on this

ground and will enforce the fee-shifting provision as written.

                                   CONCLUSION

      For the reasons stated above, Defendant’s Motion to Compel Arbitration,

Stay Proceedings and Dismiss Collective Action [Doc. 10] is GRANTED in part.

The motion is GRANTED to the extent that Defendant seeks an order compelling

arbitration, staying this proceeding and granting fees. Plaintiff is permitted to file a

motion for fees, costs and expenses as contemplated by the Employment

Agreement. To the extent Defendant seeks dismissal of Plaintiff’s collective

action claim, the motion is DENIED. This action is STAYED pending arbitration,

and the Clerk is DIRECTED to ADMINISTRATIVELY CLOSE this case for

case management purposes pending arbitration. The parties shall notify the Court

upon completion of the arbitration, and either party shall have the right to move to

reopen this case at any time.

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SO ORDERED this 7th day of May, 2025.

                              __________________________
                              J. P. BOULEE
                              United States District Judge




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